          Case 6:21-cv-00242-ADA Document 3 Filed 04/14/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                     Case No: 6:21-cv-00242- ADA
                                      §
vs.                                   §                     PATENT CASE
                                      §
HARLEY-DAVIDSON, INC.,                §
                                      §
      Defendant.                      §
_____________________________________ §

      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Plaintiff Display Technologies, LLC (“Plaintiff” or “Display Tech.”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant Harley-Davidson, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each

party to bear its own fees and costs.

Dated: April 14, 2021                        Respectfully submitted,
                                             /s/ Jay Johnson
                                             JAY JOHNSON
                                             State Bar No. 24067322
                                             D. BRADLEY KIZZIA
                                             State Bar No. 11547550
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 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                           Page | 1
        Case 6:21-cv-00242-ADA Document 3 Filed 04/14/21 Page 2 of 2




                              CERTIFICATE OF SERVICE

         I hereby certify that on April 14, 2021, I electronically filed the above document(s)
with the Clerk of Court using CM/ECF which will send electronic notification of such filing(s)
to all registered counsel.

                                                  /s/ Jay Johnson
                                                  JAY JOHNSON




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                          Page | 2
